                             UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                        )   Magistrate Docket No.    '22 MJ1752
                                                  )
                          Plaintiff,              )
                                V.                )   COMPLAINT FOR VIOLATION OF:
                                                  )   Title 8, U .S.C. § 1324(a)(l )(A)(ii)
                                                  )   Transportation of Illegal Aliens
                                                  )
                                                  )
                                                  )
 Adrian Alexis LOAIZA-Velarde,
                                                  )
 Aaron Ricardo COTA,                              )
                                                  )
                                                  )
                         Defendants.              )



        The undersigned complainant being, duly sworn, states:


 On or about May 15, 2022, within the Southern District of California, defendants Adrian
 Alexis LOAIZA-Velarde and Aaron Ricardo COTA, with the intent to violate the
 immigration laws of the United States, knowing or in reckless disregard of the fact that
 certain aliens, namely, Luis MOLINA-ChapaffO and Ricardo ROSALES-Magana, had
 come to, entered and remained in the United States in violation of law, did transport and
 move, said aliens within the United States in furtherance of such violation oflaw; in
 violation of Title 8, United States Code, Section 1324(a)(l)(A)(ii).

 And the complainant further states that this complaint is based on the attached probable
 cause statement, which is incorporated herein by reference.

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                                                                                       ""\._..._



                                                      SIGNATURE OF COMPLAINANT
                                                      Giancarlo Lugo
                                                      Border Patrol Agent

SWORN AND ATTESTED TO UNDER OATH BY TELEPHONE, IN ACCORDANCE
WITH FEDERAL RULE OF CRIMINAL PROCEDURE 4.1, ON MAY 16, 2022.




                                                      HON. JILL L. BURKHARDT
                                                      United States Magistrate Judge
CONTINUATION OF COMPLAINT:
Adrian Alexis LOAIZA-Velarde,
Aaron Ricardo COTA


                              PROBABLE CAUSE STATEMENT
The complainant states that Luis Molina-Chaparro and Ricardo Rosales-Magana, are citizens of
a country other than the United States; that said aliens have admitted that they are deportable;
that their testimony is material, that it is impracticable to secure their attendance at the trial by
subpoena; and they are material witnesses in relation to this criminal charge and should be held
or admitted to bail pursuant to Title 18, United States Code, Section 3144.

On May 15, 2022, Border Patrol Agents A. Sabori, D. Boone and K. Whitworth, were
performing assigned duties in the Brownfield and Chula Vista Border Patrol Stations' areas of
responsibility, respectively. While driving on Otay Lakes Road, near the 4.5-mile marker,
Agent Sabori observed a white Chevrolet Trailblazer, which had been parked on the side of the
road, proceed westbound on Otay Lakes Road. This area is commonly used by smugglers who
park along side of this road, pick up illegal aliens, and then attempt to avoid detection by
Border Patrol Agents. Agent Sabori placed his marked vehicle behind the Trailblazer, and
requested a records check. At this time, the driver of the vehicle, later identified as defendant
Adrian Alexis LOAIZA-Velarde, began to swerve back and forth. At approximately 3:07 PM,
Agent Sabori activated his emergency lights in an attempt to pull the vehicle over.

LOAIZA failed to stop the Trailblazer and proceeded to increase his speed, ran through a red
light and was cutting off traffic. At approximately, 3:12 PM, having entered a residential area,
the Trailblazer aggressively stopped, and individuals began to run out of and away from the
vehicle. This area is located approximately 7.5 miles north of the United States/Mexico
International Boundary and approximately 1.9 miles west of the Otay Mesa, California Port of
Entry. Only LOAIZA and one other individual, later identified as Material Witness Luis
Miguel MOLINA-Chaparro, remained at the vehicle.

At approximately 3: 18 PM, Agent Sabori proceeded to conduct and immigration inspection of
LOAIZA and MOLINA. LOAIZA and MOLINA stated that they are citizens of Mexico
without immigration documents allowing them to be or remain in the United States legally and
were subsequently placed under arrest.

Agent Whitworth and Agent Boone, arrived to the location of the vehicle stop and started
searching for the individuals that absconded from the Trailblazer. After a brief search, Agent
Whitworth encountered an individual, later identified as Defendant Aaron Ricardo COTA
hiding in some brush located approximately 50 yards from the road. Agent Whitworth
identified himself as a Border Patrol Agent and conducted an immigration inspection. COTA
CONTINUATION OF COMPLAINT:
Adrian Alexis LOAIZA-Velarde,
Aaron Ricardo COTA



stated that he is a United States citizen. At approximately 3 :23 PM, Agent Whitworth placed
COTA under arrest. Agent Boone encountered an individual, later identified as Material
Witness Ricardo ROSALES-Magana, attempting to conceal himself lying face down under a
bush. Agent Boone identified himself as a Border Patrol Agent and conducted an immigration
inspection. ROSALES stated that he is a citizen of Mexico without immigration documents
allowing him to be or remain in the United States legally. At approximately 3:30 PM, Agent
Boone placed ROSALES under arrest.

Defendant Adrian Alexis LOAIZA-Velarde was read his Miranda rights and was willing to
answer questions without an attorney present. LOAIZA stated he was born in Mexico and is a
Mexican citizen. LOAIZA stated that he does not possess immigration document allowing him
to enter or remain in the United States legally, and knew he was entering illegally today.
LOAIZA stated that he was going to earn between $400 to $500 USD for transporting the
undocumented aliens. LOAIZA stated that he knew he was going to be picking up
undocumented aliens and admitted that this was his third time attempting to smuggle
undocumented aliens. LOAIZA stated he was previously successful on two different occasions.
LOAIZA stated he picked up undocumented aliens and then drove them to a nearby shopping
center. LOAIZA state that he received $500 USD on both occasions. LOAIZA stated that he
got a call from an unknown person with the pick-up location for a group of undocumented
aliens ready to be picked up. LOAIZA stated that the group of undocumented aliens were near
the same location as the two previous occasions. LOAIZA stated he was also told that he would
be accompanied by another person. LOAIZA stated when he arrived at the location he parked
and waited briefly for the undocumented aliens to enter the vehicle. LOAIZA stated that as he
was driving away, he heard the lights and siren of a Border Patrol vehicle. LOAIZA stated that
the front passenger and an undocumented alien told him to step on it and go. LOAIZA stated
the front passenger, and the undocumented aliens were guiding him as to where to drive to
evade Border Patrol, but eventually stopped when he entered a dead-end road. LOAIZA stated
he remembered several people running from the car.

Material witnesses, MOLINA and ROSALES, stated that they are citizens of Mexico without
immigration documents allowing them to enter or remain in the United States legally. MOLINA
and ROSALES stated that illegally entered the country by crossing the United States/Mexico
International Boundary. MOLINA and ROSALES stated that they made smuggling
arrangements and were going to pay a smuggling fee between $8,000 USD to $8,500 USD,
respectively. When shown a photographic lineup, MOLINA and ROSALES, identified
LOAIZA as the driver, and COTA as the passenger of the vehicle in this event.
